 Case 1:19-mc-02303-LDH Document 11 Filed 01/16/20 Page 1 of 1 PageID #: 81




                                                                                   January 16, 2020
BY ECF
The Honorable LaShann DeArcy Hall
United States District Judge
United States District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

          RE: Ira Kleiman et al. v. Craig Wright, No. 1:19-mc-02303-LDH (E.D.N.Y.)
Dear Judge DeArcy Hall:

        We act as counsel for Plaintiffs in the above captioned matter and are writing to apprise
the Court that the discovery deadlines in the underlying matter have been extended. Specifically,
per the attached scheduling order, all discovery must now be completed by April 17, 2020. ECF
No. 382, Kleiman v. Wright, No. 9:18-cv-80176-BB (S.D. Fla. Jan. 16, 2020).
       Prior to this extension, the cutoff for all discovery was January 17, and Plaintiffs therefore
noticed Mr. Sullivan’s deposition to preserve their ability to obtain his testimony in the event the
motion to quash remained pending or was denied. See Letter, ECF No. 10 (Jan. 2, 2020). That
deposition has been cancelled in light of the extension and the still-pending motion to quash.


                                                      Respectfully,

                                                      __/s/ Joseph Delich_________
                                                      Joseph Delich
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